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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


HAROLD H. HODGE, JR.,                            )
46960 Lei Drive                                  )
Lexington Park, MD 20653,                        ) Civil Action No. 1:12-cv-104 (BAH)
                                                 )
               PLAINTIFF                         )
       vs.                                       )
                                                 )
                                                 )
PAMELA TALKIN,                                   )
in her official capacity as Marshal of the       )
Supreme Court of the United States,              )
1 First St., NE,                                 )
Washington, DC 20543,                            )
                                                 )
and                                              )
                                                 )
RONALD C. MACHEN, JR.,                           )
in his official capacity as                      )
                                                 )
United States Attorney for the District of
                                                 )
Columbia,                                        )
555 Fourth St., NW,                              )
Washington, DC 20530                             )
                                                 )
               DEFENDANTS                        )
                                                 )

                           FIRST AMENDED COMPLAINT

                                     INTRODUCTION

       1.      By this action, Plaintiff Harold H. Hodge, Jr. challenges the

constitutionality of 40 U.S.C. § 6135 on its face and as applied to his desired activities.

       2.        There are two sub-parts to 40 U.S.C. § 6135. The first makes it

“unlawful to parade, stand, or move in processions or assemblages in the Supreme Court

Building or grounds,” while the second makes it unlawful “to display in the Building and

grounds a flag, banner, or device designed or adapted to bring into public notice a party,

organization, or movement.”
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       3.      Mr. Hodge challenges the first sub-part on its face as being overbroad and

vague. Mr. Hodge further challenges the first sub-part, as applied to the Supreme Court

plaza, but not the inside of the building, as an improper time, place, and manner

restriction in a public forum.

       4.      Mr. Hodge challenges the second sub-part on its face as being overbroad,

vague, and an improper restriction on pure speech. Mr. Hodge further challenges the

second sub-part on the basis that, as applied, corporate speech is permitted, while

political speech is not permitted. Mr. Hodge still further challenges the second sub-part

on the basis that, as applied, it violates the Equal Protection clause of the United States

Constitution because it favors government speakers over private speakers.



                                      THE PARTIES

       5.      Plaintiff Harold H. Hodge, Jr. is a citizen of Maryland residing at 46960

Lei Drive, Lexington Park, MD. He is a full-time student at the College of Southern

Maryland.

       6.      Defendant Pamela Talkin is the Marshal of the Supreme Court of the

United States. Marshal Talkin is the statutory officer charged and empowered under 28

U.S.C. § 672 to take charge of all property used by the Supreme Court of the United

States and to oversee the Supreme Court Police. Marshal Talkin also is empowered by

federal law, 40 U.S.C. § 6121, to police the United States Supreme Court Building and

grounds. Marshal Talkin is sued in her official capacity.

       7.      Defendant Ronald C. Machen, Jr. is the United States Attorney for the

District of Columbia. United States Attorney Machen is charged, pursuant to 40 U.S.C. §
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6137(b), with prosecuting violations of 40 U.S.C. § 6135. United States Attorney

Machen is sued in his official capacity.



                               JURISDICTION AND VENUE

        8.       This action arises under the United States Constitution and 40 U.S.C. §

6135. This Court has jurisdiction over the parties and subject matter pursuant to 28

U.S.C. § 1331.

        9.       The Court may grant declaratory and injunctive relief pursuant to the

Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., Rules 57 and 65 of the Federal

Rules of Civil Procedure, and its own inherent authority to restrain unlawful government

actions .

        10.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(e) because

several of the defendants are officers or employees of the United States acting in their

official capacity and a substantial part of the events giving rise to the claim occurred

within the District of Columbia.



                                FACTUAL ALLEGATIONS

The Supreme Court Plaza

        11.      The plaza area outside of the Supreme Court is oval in shape and

approximately 252 feet in length. It is separated from the sidewalk between First Street,

N.E., and the Supreme Court building grounds by a few small steps which lead up about

3 feet to the plaza. As a large, open space, the Supreme Court Plaza is no different than

other traditional public fora such as parks and sidewalk.
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       12.     The Supreme Court plaza has historically been used for First Amendment

activities. Litigants and their attorneys have been and are permitted to hold press

conferences and make speeches on the plaza. Tourists and attorneys on the plaza waiting

in line to attend oral arguments are permitted to engage in conversations about matters

before the Supreme Court. More recently, commercial film crews have been allowed to

shoot scenes for movies on the plaza of the Supreme Court.

       13.     The Supreme Court plaza is open to the public 24 hours a day, except

under special circumstances when it is closed by the Marshal. The public is free to enter

and leave the Supreme Court plaza at all hours.

       14.     There is no gate, fence, or marking that serves to distinguish the Supreme

Court plaza as a special enclave within which First Amendment activity is not permitted.



The statute as applied

       15.     As 40 U.S.C. § 6135 has been applied, speech by the government, such as

the flying of an American flag on the Supreme Court plaza, is permitted, while speech by

private citizens, such as the carrying of signs with political messages, is not permitted.

       16.     As 40 U.S.C. § 6135 has been applied, corporate speech, such as the

display of corporate logos and slogans on bags and shirts, is permitted, while the display

of political speech, such as the slogan “Occupy Everywhere” on a jacket, is not

permitted.
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Mr. Hodge’s arrest

          17.   On January 28, 2011, at approximately 11:35 a.m., Mr. Hodge went to the

site of the Supreme Court of the United States located at the corner of First Street, N.E.,

and East Capitol Street, N.E., within the District of Columbia.

          18.   At that time, Mr. Hodge had hanging from his neck a sign approximately 3

feet long and 2 feet wide, which had the following written upon it: “The U.S. Gov.

Allows Police To Illegally Murder And Brutalize African Americans And Hispanic

People.” Hodge’s purpose in going to this site and wearing the sign was to engage in

expression on a political matter of public interest and importance and to raise public

awareness about the adverse treatment of minorities by law enforcement.

          19.   Mr. Hodge approached the Supreme Court building from the west,

crossing First Street, N.E., then crossing the sidewalk between First Street, N.E., and

then proceeding up the steps leading up to the plaza in front of the Supreme Court

building.

          20.   Mr. Hodge then stood quietly and peacefully upon the plaza area near the

steps leading to the sidewalk in front of the Supreme Court Building, approximately 100

feet from the doors of the main entrance leading into the Supreme Court Building.

          21.   After standing on the plaza for a few minutes, Mr. Hodge was approached

by Officer Daniel Metague of the Supreme Court of the United States Police. Officer

Metague informed Mr. Hodge that he was violating the law and was told to leave the

plaza.

          22.   Mr. Hodge refused and was given three warnings to leave the plaza.
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        23.     When Mr. Hodge refused to leave the plaza, he was informed by Officer

Metague that he was under arrest for violating 40 U.S.C. § 6135. Mr. Hodge was told to

place his hands behind his back, and he peacefully and without resistance complied with

this request.

        24.     Mr. Hodge was then handcuffed and taken to a holding cell within the

Supreme Court building. Thereafter, he was transported to U.S. Capitol Police

Headquarters where he was booked and given a citation for violating 40 U.S.C. § 6135.

The citation required Mr. Hodge’s appearance in the District of Columbia Superior Court

on February 15, 2011.

        25.     In an information issued by the U.S. Attorney for the District of Columbia

on February 4, 2011, Mr. Hodge was charged with violating 40 U.S.C. § 6135. The

information alleged that Hodge “did unlawfully parade, stand, or move in processions or

assemblages in the Supreme Court Building or grounds, or to [sic] display in the Building

and grounds a flag, banner, or device designed or adapted to bring into public notice a

party, organization, or movement.”

        26.     Eventually, a “stet” agreement was entered into between the United States

and Hodge. Pursuant to this agreement, if Mr. Hodge remained away from the Supreme

Court building and grounds for 6 months, the charge under 40 U.S.C. § 6135 would be

dismissed.

        27.     Mr. Hodge complied with the “stet” agreement in all respects, and on

September 14, 2011, the charge under 40 U.S.C. § 6135 was dismissed.
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Mr. Hodge’s desired future activities

        28.     Mr. Hodge desires to return to the plaza area in front of the Supreme Court

building and engage in peaceful, non-disruptive political speech and expression in a

similar manner to his activity on January 28, 2011.

        29.     In addition to wearing a sign while on the Supreme Court Plaza as he did

before, Mr. Hodge also desires to return to the plaza area in front of the Supreme Court

building and picket, hand out leaflets, sing, chant, and make speeches, either by himself

or with a group of like-minded individuals. The political message that Mr. Hodge would

like to convey would be directed both at the Supreme Court and the general public, and

would explain how decisions of the Supreme Court have allowed police misconduct and

discrimination against racial minorities to continue.

        30.     Mr. Hodge desires to engage in the activities described in the previous two

paragraphs immediately, but is deterred and chilled from doing so because of the terms of

40 U.S.C. § 6135 and his prior arrest on January 28, 2011 and subsequent prosecution for

violating that statute.

        31.     Mr. Hodge is suffering ongoing irreparable injury to his First Amendment

rights because the threat of arrest and criminal prosecution under of 40 U.S.C. § 6135 has

deterred him from engaging in speech and advocacy that is protected under the First

Amendment.

        32.     Mr. Hodge has no adequate remedy at law.
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                              COUNT I: FIRST AMENDMENT

       33.     Mr. Hodge incorporates by reference the allegations contained in ¶¶ 1

through 32 set forth above.

       34.     Both sub-parts of 40 U.S.C. § 6135 are unconstitutional restrictions in

violation of the First Amendment to the United States Constitution.



             COUNT II: FIRST & FIFTH AMENDMENT (OVERBREADTH)

       35.     Mr. Hodge incorporates by reference the allegations contained in ¶¶ 1

through 32 set forth above.

       36.     Both sub-parts of 40 U.S.C. § 6135 are unconstitutional restrictions in

violation of the First and Fifth Amendments to the United States Constitution because

they are overbroad.



              COUNT III: FIRST & FIFTH AMENDMENT (VAGUENESS)

       37.     Mr. Hodge incorporates by reference the allegations contained in ¶¶ 1

through 32 set forth above.

       38.     Both sub-parts of 40 U.S.C. § 6135 are unconstitutional restrictions in

violation of the First and Fifth Amendment to the United States Constitution because they

are void for vagueness. The following phrases are undefined in the statute and fail to

provide notice as to what is unlawful and to guide government officials in enforcement:

“parade, stand, or move in processions or assemblages” and “flag, banner, or device

designed or adapted to bring into public notice a party, organization, or movement.”
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COUNT IV: FIRST AMENDMENT (CONTENT & VIEWPOINT DISCRIMINATION)

       39.     Mr. Hodge incorporates by reference the allegations contained in ¶¶ 1

through 32 set forth above.

       40.     The second sub-part of 40 U.S.C. § 6135 is an unconstitutional restriction

in violation of the First Amendment to the United States Constitution because, as applied,

it discriminates in favor of corporate speech and against political speech.

       41.     The second sub-part of 40 U.S.C. § 6135 is an unconstitutional restriction

in violation of the First Amendment to the United States Constitution because, as applied,

it discriminates in favor of speech supportive of the United States government and the

Supreme Court and against speech critical of the United States government and the

Supreme Court.



             COUNT V: FIFTH AMENDMENT (EQUAL PROTECTION)

       42.     Mr. Hodge incorporates by reference the allegations contained in ¶¶ 1

through 32 set forth above.

       43.     The second sub-part of 40 U.S.C. § 6135 is an unconstitutional restriction

in violation of the Fifth Amendment to the United States Constitution because, as

applied, it discriminates in favor of United States government, litigants before the

Supreme Court, and their attorneys, as speakers, and against private citizens as speakers.
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                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Harold H. Hodge, Jr., requests that judgment be entered

in his favor as follows:

   1. Declaring 40 U.S.C. § 6135 unconstitutional on its face, and as applied to

       Plaintiff, because it violates the First and Fifth Amendments to the United States

       Constitution;

   2. Striking down both sub-sections of 40 U.S.C. § 6135 in their entirety;

   3. Permanently enjoining Defendants from arresting or criminally prosecuting

       Plaintiff or others for violating 40 U.S.C. § 6135;

   4. Awarding Plaintiff his costs and attorney fees pursuant to 28 U.S.C. § 2412;

   5. Granting such other and further relief as the Court may deem just and proper.



                                                     ___/s/ Jeffrey L. Light____________

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